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     .",AO 245B    (Rev. 9/00) Judgment in a Criminal Case
                   Sheet t
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                                                                                                                             ~::t.~~.;j.,;;t,OI~lTiili:i(,)~;::n
                                               UNITED STATES DISTRICT COUR
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                    .:""~=:~~~2
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For OfTenses Committed On or After November I, 1987)

                           TERRENCE SMITH (6)                                        Case Number: IOCR I 863-LAB
                            aka Terry Lee Smith
                                                                                     GREGORY D. OBENAUER
                                                                                     Defendant's Attorney
    REGISTRATION NO. 19875298

    D
    THE DEFENDANT:
    [8J pleaded guilty to count(s) ONE OF THE INDICTMENT
    D w~fuundguil~oncoun"s)~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
          after a plea of not guilty.
          Accordingly, the detendant is adjudged guilty of such count(s). which involve the following oftense(s):
                                                                                                                                                Count
    Title & Section                           Nature of Offense                                                                             Number(s)
18 USC 1343 and 1349                  CONSPIRACY TO COMMIT WIRE FRAUD                                                                       1




        The defendant is sentenced as provided in pages 2 through                4           of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)       ~--~--~~------~----------------------~-
 IXI Count(s) «.,e.i"NM,OI ~                                                          is   D are~ dismissed on the motion of the United States.
 I8J Assessment: $100.00

 I8J No fine                                        D Forfeiture pursuant to order filed                                        , included herein.
       I T IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of nanle, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               MAY 23, 2011




                                                                              HON. LARRY ALAN BURNS
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                IOCR 1863-LAB
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